     Case 4:20-cv-05640-YGR         Document 1566-2        Filed 05/16/25    Page 1 of 2




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8                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
9                                 OAKLAND DIVISION
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     EPIC GAMES, INC.,                             Case No. 4:20-CV-05640-YGR-TSH
11
                   Plaintiff, Counter-defendant,   [PROPOSED] ORDER PURSUANT TO
12                                                 CIVIL LOCAL RULE 6-3
                          v.
13                                                 Courtroom: 1, 4th Floor
     APPLE INC.,                                   Judge: Hon. Yvonne Gonzalez Rogers
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                   Defendant, Counterclaimant.
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     [PROPOSED] ORDER PURSUANT TO                            CASE NO. 4:20-CV-05640-YGR-TSH
     CIVIL LOCAL RULE 6-3
      Case 4:20-cv-05640-YGR         Document 1566-2         Filed 05/16/25    Page 2 of 2




1                  The Court, having considered the evidence and arguments presented to it with

2    respect to Plaintiff and Counter-Defendant Epic Games, Inc.’s (“Epic”) Motion to Shorten Time

3    for Apple Inc. (“Apple”), pursuant to Local Rule 6-3, to respond to Epic’s pending Motion to

4    Enforce the Injunction (“Motion”), and for good cause appearing, HEREBY ORDERS as follows:

5           1.     Epic’s Motion to Shorten Time is GRANTED;

6           2.     Apple’s response to Epic’s Motion is due by May 21, 2025;

7           3.     Epic’s reply in support of the Motion is due by May 23, 2025; and

8           4.     A hearing is set for this matter on May 27, 2025.

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10                 IT IS SO ORDERED.

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12   DATED:_____________________, 2025

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                                                      The Honorable Yvonne Gonzalez Rogers
15                                                       United States District Court Judge
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     [PROPOSED] ORDER PURSUANT TO                 1            CASE NO. 4:20-CV-05640-YGR-TSH
     CIVIL LOCAL RULE 6-3
